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                                DEPARTMENT OF JUSTICE
                       BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND
                                     EXPLOSIVES
                             3750 CORPORAL RD, HUNTSVILLE, ALABAMA 35898

                                      REPORT OF EXAMINATION


     To: Special Agent Holley Edwards                                          I/N:    781090-23-0042
         Bureau of Alcohol, Tobacco, Firearms
         and Explosives                                            Type of Exam:       Destructive Device
         125 West 15th Street, Suite 600
         Tulsa, OK 74119
                                                                              Date:    August 4, 2023


        As requested, the following items were examined in order to form an opinion as to the design,
        construction, functioning, effects, and technical classification of the materials involved in this
        investigation.

        ITEMS SUBMITTED FOR ANALYSIS OR EVALUATION

        Item 1. ATF Reports of Investigation #1 dated April 14, 2023, and #2 & #3 dated April 16, 2023.

        Item 2. ATF Laboratory Report number #2023-A-000113(1), dated July 18, 2023.

        Item 3. Physical evidence examined August 1, 2023.

        DEVICE DESIGN AND CONSTRUCTION

        The materials examined in this investigation are consistent with fourteen improvised
        explosive weapons and four explosive devices. Ten weapons were constructed using glass
        bottles, one of which also contained a quantity of finishing nails. One weapon was
        constructed using an expended CO2 cartridge. One weapon was constructed using a glass
        bottle with an Estes model rocket motor inserted. One weapon was constructed using a
        metal cup with an Estes model rocket motor inserted. And one weapon was constructed
        using a metal flashlight.

        The four explosive devices were constructed of cardboard tubes wrapped with tape.

        All of the items contained a quantity of explosive powder identified by laboratory analysis
        as a perchlorate explosive mixture of potassium perchlorate and aluminum, commonly
        known as flash powder. All of the items utilized a pyrotechnic burning type fuse as a
        means of initiation.

        DEVICE FUNCTIONING AND EFFECTS

        Lighting the fuses of the explosive weapons would, after a delay, result in an explosion. These
        explosions would produce blast and thermal effects, and project fragmentation and shrapnel at
        high velocity. These weapons were capable of causing property damage, injury and or death
        to persons nearby.
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  DEVICE FUNCTIONING AND EFFECTS (continued)

  Lighting the fuses of the explosive devices would, after a delay, result in an explosion. These
  explosions would produce blast and thermal effects. These devices were capable of causing
  property damage, injury and or death to persons nearby.

  OPINION

  Based upon the above, it is the opinion of the assigned that the items in this investigation were
  designed as weapons and would be properly identified as fourteen improvised explosive bombs.
  Explosive bombs are destructive devices as that term is defined in 26 U.S.C., section 5845(f) and
  would be regulated in accordance with the Federal Firearms Regulations.

  The four improvised explosive devices, the primary or common purpose of which is to function by
  explosion, would constitute explosives as that term is defined in 18 U.S.C. Section 841(d).


  ____________________________________
  Submitted by: Gary W. Smith
  Explosives Enforcement Officer


  ____________________________________
  Approved by: Kevin M. Miner
  Destructive Device Determination Unit Technical Manager




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